                      Case 1:23-cv-00247-MN Document 1-5 Filed 03/07/23 Page 1 of 2 PageID #: 382
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JOHN PAUL MAC ISAAC                                                                                     CABLE NEWS NETWORK, INC.; ADAM BENNETT SCHIFF;
                                                                                                        POLITICO, LLC; ROBERT HUNTER BIDEN; BFPCC, INC.
    E &RXQW\RI5HVLGHQFHRI)LUVW/LVWHG3ODLQWLII       NEW CASTLE                                    &RXQW\RI5HVLGHQFHRI)LUVW/LVWHG'HIHQGDQW
                              (EXCEPT IN U.S. PLAINTIFF CASES)                                                                        (IN U.S. PLAINTIFF CASES ONLY)
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    F $WWRUQH\V(Firm Name, Address, and Telephone Number)                                              $WWRUQH\V(If Known)
                                                                                                        Stephen R. Terrell, United States Department of Justice, Civil
Ronald G. Poliquin, The Poliquin Firm LLC, 1475 S. Governors Ave.,                                      Division, Torts Branch, P.O. Box 888, Washington, DC 20044,
Dover, DE 19904 (302) 702-5501                                                                          (202) 353-1651

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                                                                                                       (For Diversity Cases Only)                                                               and One Box for Defendant)
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                                      Federal Tort Claims Act claim for defamation, civil conspiracy to commit defamation, aiding and abetting defamation
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9,,    5HTXHVWHGLQ&RPSODLQW&ODVV$FWLRQ3ODFHDQ;LQWKLVER[LI\RXDUHILOLQJDFODVVDFWLRQXQGHU5XOH)5&Y3
         'HPDQG,QWKLVVSDFHHQWHUWKHDFWXDOGROODUDPRXQWEHLQJGHPDQGHGRULQGLFDWHRWKHUGHPDQGVXFKDVDSUHOLPLQDU\LQMXQFWLRQ
         -XU\'HPDQG&KHFNWKHDSSURSULDWHER[WRLQGLFDWHZKHWKHURUQRWDMXU\LVEHLQJGHPDQGHG

9,,, 5HODWHG&DVHV7KLVVHFWLRQRIWKH-6LVXVHGWRUHIHUHQFHUHODWHGSHQGLQJFDVHVLIDQ\,IWKHUHDUHUHODWHGSHQGLQJFDVHVLQVHUWWKHGRFNHW
       QXPEHUVDQGWKHFRUUHVSRQGLQJMXGJHQDPHVIRUVXFKFDVHV

'DWHDQG$WWRUQH\6LJQDWXUH'DWHDQGVLJQWKHFLYLOFRYHUVKHHW
